                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

        v                                              CRIMINAL NO.24.

CERTAIN PERSON


                                               ORDER
                AND NOW, this 7th day of November,2024, upon consideration of the

Govemment's Motion to Impound Indictment, and accompanying docket papers, and after

balancing the public right of access to court documents with the govemment's interest in

protecting ongoing criminal investigation and protecting against the risk of the defendants

fleeing prior to arrest in this matter, it is hereby

                                            ORDERED
that the within indictment and accompanying docket papers are IMPOUNDED and to be retained

in the custody of the Clerk of Court until notified by the United States Attorney that the

defendant has been arrested and the indictment can be unimpounded, except that the Clerk is

authorized to disclose to the attorney for the government the docket number and district court

judge assigned to the case, and the attorney for the government is authorized to disclose the

indictment to the district court judge assigned to the case. The Clerk of Court is directed to

make no public docket entry of the sealed documents and motion and order to seal, and to

provide copies of all sealed documents only to Anthony J. Carissimi, Assistant United States

Attorney.
               IT IS FURTHER ORDERED THAT, the Clerk is directed upon notice from the

United States Attorney's Office to remove the docket papers hereby impounded and restore the

same to the public docket.

                                           BY THE COURT:

                                                                                               /;
                                                                  R. ARTEAGA                        -.
                                           United         Magistrate Judge
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                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

          v                                    :CRIMINAL NO. 24

CERTAIN PERSON


                           MOTION TO IMPOUND INDICTMENT

               The United States of America, by and through its attorneys, Jacqueline C.

Romero, United States Attorney for the Eastern District of Pennsylvania, and Anthony J.

Carissimi, Assistant United States Attomey for the District, moves to impound the within

documents and in support of its Motion states as follows:

                1.     The within indictment, and accompanying docket papers, are documents

which, if made public would jeopardize the govemment's interest in protecting ongoing criminal

investigation and protecting against the risk of the defendant's fleeing prior to arrest in this

matter.

               2.      Although the public has a common law right of access to judicial

proceedings and papers, matters relating to protecting an ongoing criminal investigation and

protecting against the defendant's fleeing prior to arrest, are traditionally conducted ex parte and

in camera, with deference to the government's determination that the information should be

sealed.

               3.      Accordingly, balancing the public's right of access to judicial documents

with the govemment's interest in not jeopardizing ongoing criminal investigation and in

protecting against the risk of the defendant's fleeing prior to arrest in this matter, the government
respectfully requests that the government's Motion be GRANTED. The government further

requests that the Clerk of Court be directed to make no public docket entry of the sealed

documents and motion and order to seal, and to provide copies of all sealed documents only to

Anthony J. Carissimi, Assistant United States Attorney. It is further requested that the

indictment shall be unimpounded upon notice of the United States Attomey that the defendant

has been arrested.

                                             Respectfully submitted,

                                             JACQUELINE C. ROMERO
                                             United States Attorney




                                             lsl Anthony J.
                                             Anthony J. Carissimi
                                             Assistant United States Attorney
